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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CABLE NEWS NETWORK, INC. and
ABILO JAMES ACOSTA,

               Plaintiffs,                          Case No.: 1:18-CV-2610 (TJK)

   v.

DONALD J. TRUMP, in his official capacity
as President of the United States; JOHN F.
KELLY, in his official capacity as Chief of
Staff to the President of the United States;
WILLIAM SHINE, in his official capacity as
Deputy Chief of Staff to the President of the
United States; SARAH HUCKABEE
SANDERS, in her official capacity as Press
Secretary to the President of the United States;
the UNITED STATES SECRET SERVICE;
RANDOLPH ALLES, in his official capacity
as Director of the United States Secret Service;
and JOHN DOE, Secret Service Agent, in his
official capacity,


               Defendants.

        NOTICE IS HEREBY GIVEN that Michael H. Baer, Civil Division, United States

Department of Justice, enters his appearance in this case on behalf of the government defendants.

The undersigned counsel herby certifies pursuant to Local Rule 82.3(j) that he is personally

familiar with the Local Rules of this Court.

Dated: November 14, 2018                       Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               ERIC R. WOMACK
                                               Assistant Branch Director

                                               /s/ Michael H. Baer
                                               MICHAEL H. BAER
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